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                           EXHIBIT 16
                                     to
______________________________________________________________________________

     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
    JUDGMENT AND PLAINTIFF’S CROSS MOTION FOR PARTIAL SUMMARY
                          JUDGMENT ON LIABILITY
______________________________________________________________________________




                         Lindsay Expert Report
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                                   Cameron K. Lindsay
                                    108 Eagle Glen Drive
                                  East Fallowfield, PA 19320
                                      Cell: 267-252-4965
                                   clindsay50@yahoo.com


                                             April 13, 2016

Brendan J. Klaproth
Klaproth Law PLLC
406 5th Street NW
Suite 350
Washington, DC 20001

       Re:     Smith v. DistrictofColumbia(1:15-cv-00161-ABJ)

Dear Mr. Klaproth:

       I have examined the circumstances surrounding the overdetention of Gregory Smith by
the D.C. Department of Corrections (DOC). My findings and opinions are detailed in this report.
This report is preliminary and based on the information indicated herein. Should additional
information become available, a supplemental report may be made. My fees for testifying and
reviewing materials in connection with this case is $200 per hour, and $100 per hour for travel.

QUALIFICATIONS
         I have twenty (20) years of experience working for the Federal Bureau of Prisons. I
served as the Warden for the Metropolitan Detention Center in Brooklyn, New York; the United
States Penitentiary in Canaan, Pennsylvania; and (3) the Federal Correctional Institution in
Lompoc, California. As the Warden of the Metropolitan Detention Center in Brooklyn, New
York. I was responsible for overseeing approximately 600 employees and an inmate population
of approximately of 2,800. This particular Detention Center was a pre-trial/pre-sentencing
facility that processed releases twenty-four hours per day, and processed over 10,000 individuals
into and out of the facility a year. I also served as the Regional Director for the Northeast
Regional Office for the Federal Bureau of Prisons.

       I have a Bachelor's of Science in Criminal Justice. I also have Master's Degrees from
West Virginia University in Safety, and Counseling and Guidance. I was a member of the United
States Government Senior Executive Services (SES) from 2005-2009. I also held a United
States Government Top-Secret Security Clearance from 2002-2009.

FACTUAL BACKGROUND
       On March 15, 2014, Mr. Smith was arrested and charged in the District of Columbia with
a misdemeanor. He was held at the D.C. Jail for three days in connection with two


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misdemeanors: 2012 ClVID 7806 and 2014 ClVID 4452. On March 18, 2014, Mr. Smith was
ordered by the D.C. Superior Court to be released in both misdemeanor cases. The CourtView
system shows that a "Release Order" was sent to the D.C. Jail on "March 18, 2014 13:26:46.79"
in connection with case 2012 ClVID 7806. A "Release Order" was sent to the D.C. Jail on
"March 18, 2014 13:28:00.75" in connection with case 2014 ClVID 4452. Despite the Superior
Court ordering Mr. Smith to be released on March 18, 2014, the DOC detained Mr. Smith until
April 10, 2014. During his twenty-three (23) day overdetention, Mr. Smith stated that he
complained to several DOC staff members indicating that the Court had ordered him to be
released.

       DOC claims it only received the March 18, 2014 release order in connection with case
2014 ClVID 4452, and that it did not receive the March 18, 2014 release order in connection with
case 2012 ClVID 7806. (Interrogatory Response 9).

STATEMENT OF OPINIONS AND BASES

I.     The D.C. Department of Corrections has a History of Overdetentions at the D.C. Jail

         The fundamental principle of every jail or prison in the United States is that an individual
cannot be detained unless there is a court order mandating that the jail detain that individual.
Conversely, when a court orders a jail to release an individual, the jail must release the
individual. The Federal Bureau of Prisons (BOP) memorializes this fundamental standard of
care in its written policy statement. Specifically, BOP Program Statement 5800.15 provides that
the Correctional Systems Departmenfs (the equivalent of D.C. DOC's Records Office)
responsibilities include: "[e]nsuring the legality of an inmate's admission and release,"
"[c]oordinating and reviewing paperwork associated with inmate movement and release,"
''[e]stablishing and maintaining a 'records control system' to effect the release of inmates on the
correct date," and ''reviewing commitment and release paperwork." Though less detailed,
DOC's policy mirrors thi~ basic standard of care by requiring that "prior to accepting custody of
an inmate, staff [must] determine[] that the inmate is legally committed to the facility." In the
same vein, the DOC's policies require that "inmates are appropriately released at the end of their
term and that upon release."

         Notwithstanding DOC's written policy statement to release inmates at the conclusion of
their detention term, the DOC has systemically overdetained individuals at the D.C. Jail. There
have been two class action lawsuits against the District of Columbia addressing the issue of DOC
overdetentions: (1) Bynum v. District of Columbia, 02-956 (D.D.C.); and (2) Barnes v. District of
Columbia, 06-315 (D.D.C.). In addition, according to DOC's Overdetention Report, between
October 2, 2010 through April 30, 2014, there were a total of seventy-two (72) overdetentions at
the D.C. Jail. (DOC Overdetention Report, GSmith DC 000690-GSmith DC 00712). Of those
seventy-two (72), thirty-two (32) were due to staff error. When staff error was the cause of
overdetention, the average period of overdetention was roughly 12.16 days. The number of
overdetentions at the D.C. Jail falls below the standard of care required for a jail in processing
prisoner releases.




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        Notably, DOC figures underreport the actual overdetentions. For example, no
investigation or report was ever conducted in connection with the overdetention of Mr. Smith.
This underreporting is directly attributable to the policies of the DOC. Specifically, D.C.
corporate representative, Jeanette Myrick, testified that DOC did not have a policy that staff in
the Records Office report prisoner overdetentions to a supervisor. (Myrick Dep. 34-35). Thus the
failure to report Mr. Smith's overdetention, is representative of a larger underreporting problem
by DOC.

       In addition, the DOC Overdetention Report further demonstrates DOC's underreporting
of overdetentions when it is cross-referenced with the overdetentions that DOC reported to the
D.C. Council. The significant discrepancy between the DOC Overdetention Report and the
overdetentions reported to the D.C. Council shows the inadequate monitoring and record keeping
by DOC in connection with overdetentions. The same underreporting is present when cross-
referencing the DOC Overdetention Report with the Defendants Interrogatory responses.

        Confronted with the high number of overdetentions at the D. C. Jail, DOC had a duty to
implement policies and practices to prevent further overdetention of inmates. As discussed more
fully below, DOC's policies, or absence of policies, demonstrates a deliberate indifference to the
overdetention problem at the D.C. Jail. This lack of policies and procedures contributed directly
to the DOC overdetaining Gregory Smith.

II.    The D.C. Department of Correction's Policies and Practices Caused Mr. Smith's
       Overdetention

        Given the history of overdetentions at the D.C. Jail, a consultant was hired to analyze the
paperflow process and release policies at the D.C. Jail. (See Review of Paperflow Process
Between the Superior Court, the U.S. Marshal Service and the Department of Corrections, Karen
Schneider (2008) ("Paperflow Report")). Similarly, D.C. Jail entered into a settlement agreement
in 2006 in response to a class action law suit involving prisoner overdetentions. In response to
the Bynum class action lawsuit, DOC stated it would implement new policies such as new
training programs, a courthouse release program, monitoring of overdetentions, and the building
of the inmate processing facilities. (Reforms discussed by the Barnes case). Although the Bynum
class action was settled in January 2006 and DOC was on notice of the overdetention problem at
the D.C. Jail, it appears many of the promised reforms were still not implemented over eight (8)
years later when Mr. Smith was overdetained. Most notably, the completion of the "Inmate
Processing Center" was still not complete and the move to a paperless system to process releases
was not effectively implemented at the time of Mr. Smith's overdetention. Thus, DOC has failed
to largely implement the recommendations in the Paperflow Report and its intended reforms.
This failure has been a cause of the continued overdetentions at the D.C. Jail.

       More specifically, the following policies and customs directly caused Mr. Smith's
overdetention and demonstrate the DOC's deliberate indifference to the overdetention problem:
        1. DOC's Policies Do Not Require DOC Staff to Report Prisoner Overdetentions.

       It is required for a jail, such as the D.C. Jail, to have written policies in place regarding
the overdetention of inmates and to report all instances of overdetention. This is necessary to


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prevent future occurrences of overdetention. BOP Program Statement 5800.15 details specific
procedures that must be strictly adhered to in the instance in which an individual is not released
on the same day a court order is issued. Specifically, in the instance of an overdetention, an
"Untimely Release Notification" must be completed and the head supervisor must "review the
circumstances of each early/late release and work closely with the Correctional Programs
Administrator, Central Office, and institution staff to prevent additional occurrence."

      In contrast, according to D.C. corporate representative, Jeanette Myrick, staff in the
Records Office at the D.C. Jail are not required to report instances of overdetention. (See
Myrick Dep. 34-35).

                Q Is there a policy at the Department of Corrections that if an LIE learns that a
                prisoner has been overdetained that he must report it to a supervisor?
                A Not to my knowledge.
                Q Is there a policy that if an LLIE learns of a prisoner overdetention that they
                must report it to a supervisor?
                A Not to my knowledge.
                Q And that's the same for supervisors?
                A As far as a policy?
                Q Uh-huh.
                A Not to my knowledge.
                Q And that's also the same for the three correctional program officers, correct?
                A Correctional officers?
                Q Correctional program officers.
                A Oh, okay, I'm sorry. Yes.
                Q And that's the same, there's no policy?
                A That's the same, yes.
       The policy of not monitoring and reporting overdetentions contributes to the
overdetentions of prisoners at the D.C. Jail. Notably, in relation to the overdetention of Mr.
Smith, there was no report or investigation of his overdetention. Likewise, Mr. Smith
complained to several DOC staff members about the overdetention. No action was taken in
response to his complaints and there is no evidence his overdetention was reported to a
supervisor.
        2. DOC's Policy Requires Staff to Review CourtView when Processing a Release;
           in Practice DOC Staff do Not Review CourtView When Processing a Release.

        DOC~s   written policy on inmate "Release Clearance" requires that the "Records Office
Legal Instruments Examiners shall obtain and review printouts from ... COURT VIEW ... '' (DOC
Program Statement: Admission, Transfers, and Releases). Consistent with this policy, the
Prisoner Release Authorization form also has a checkbox where the Legal Instrument Examiner
must state that they have review "Courtview" and the Inmate Release Check List also has a
checkbox where the employee must initial that they have reviewed "CourtView Open Cases."
Contrary to this written policy, corporate representative, Jeanette Myrick, testified that it is not



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the practice of the Records Office staff to review CourtView because they do not have access to
the program. (Myrick Dep. 46-47).
               Q So it's fair to say then that prior to an inmate being released, a records office
               legal instruments examiner shall obtain and review a printout from CourtView; is
               that correct?
               A No, we don't have Com·tView, we don't have access to Com·tView.
               Q So then this policy here is not accurate then, based on the actual practice?
               A Fol" Coul"tView only. The NCIC, the WALES, and the JACCS, and
               l"eviewing the institutional l"ecol"d is accul"ate.
               Q But not as it pertains to CourtView?
               A Not as it pertains only to CourtView.
               Q Do you as the correction program administrator have access to CourtView?
               A No, I do not.

The CourtView system shows that a "Release Order" was sent to the D.C. Jail on "March 18,
2014 13:26:46.79" in connection with case 2012 Cl\ID 7806. A "Release Order" was sent to the
D.C. Jail on "March 18, 2014 13:28:00.75" in connection with case 2014 CIVID 4452. Had it
been the custom and practice of the staff at the DOC Records Office to check CourtView, as they
were required to do, then DOC staff would have saw that Mr. Smith was ordered to be released
on March 18, 2014. Thus, DOC's practice of not reviewing CourtView as part of the release
process resulted in Mr. Smith's overdetention.

       3. DOC's Practice of Receiving Court-Ordered Releases through "Fax, Email,
          Staff'' Caused Mr. Smith's Overdetention

        According to the Paperflow Report, at the time of the report, the "District's system to
transfer commitment and release orders from the Court to DOC for processing [was] a very
lengthy, cumbersome, paperdriven process .... " In response to the Bynum and Barnes lawsuits,
DOC stated that it had moved to a paperless system to process releases. Contrary to adopting the
policy and practice of a paperless system, DOC still relies upon release orders to be delivered by
"fax, email, [and in person by] staff." (Myrick Dep. 73). Notably, Ms. Myrick did not investigate
whether the March 18, 2014 releases ordered in connection with Mr. Smith were received by fax,
email, or in person. (Myrick Dep. 73). Indeed, DOC has not explained how the March 18, 2014
release orders ended up in Mr. Smith's institutional file. Had DOC fully implemented the
paperless system for processing release orders, it would not have lost and/or overlooked the
March 18, 2014 release order it had received in connection with the case of 2012 CMD 7806.
Thus, DOC7s failure to fully implement the recommended practice of a paperless system to
process releases resulted in the overdetention of Mr. Smith.

       4. DOC's Practice of Not Processing All Misdemeanant Releases from the
          Courthouse Resulted in Ml". Smith's Detention.

       The Paperflow Report recommended that releasing defendants directly from the
courthouse. According to DOC, it has adopted this recommendation. At the time of Mr. Smith's
overdetention, DOC's policy was to process releases for individuals held on misdemeanor


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charges directly from the D.C. Superior Court. (Myrick Dep. at 54 and DOC Program Statement: .
Admission, Transfers, and Releases).

       On March 18, 2014, Mr. Smith was released on two misdemeanor charges. Had it been
DOC's practice to actually follow its policy of releasing misdemeanants directly from the D.C.
Superior Court, Mr. Smith would not have been overdetained.

       Accordingly, DOC's practices and policies are a direct cause of Mr. Smith's
overdetention.

III.    The D.C. Department of Corrections Has Failed to Adequately Train its Employees
        to Process Prisoner Releases

         An essential part of the timely processing of releases from an institution, such as the D.C.
Jail, is staff training. For example, the BOP has the Employee Development Manual which
establishes a comprehensive employee training program, the requirement of an annual training
plan, and stringent record keeping requirements on employee training. In addition, the BOP
requires that all staff complete a five-day orientation and training program. BOP further requires
that employees in the Correctional Systems Department (formally known as "Receiving and
Discharge" and BOP equivalent of the DOC's Records Office), must successfully complete
training modules within nine months of appointment. A minimum score of 75% must be
achieved to pass each module. In contrast, DOC has no training modules for the staff in the
Records Office or testing to ensure the qualifications of the staff in the Records Office. Instead,
DOC relies upon "on the job" training" which is not standardized and has no performance
metrics.

        According to Jack Jones, the individual who processed Mr. Smith's release orders on
March l 8, 2014, the only training he received in relation to his position was "on-the-job
training.'' (Jones Dep. at 9). Jones stated, "we are taught the basics of each part of our job, and
we pretty much do the work and we learn further into it by doing the work." (Jones Dep. at 10).
Jones further stated that he had not received any specialized training on how to prevent over-
detentions. (Jones Dep. at 43).

        Similarly, Legal Instrument Examiner Fred Thompson stated that the only training he
received was "training on the job. Like training on the job. We didn't have, like, a class we
went to or something like that for training. We trained on the job." (Thompson Dep. at 10). Mr.
Thompson explained, "When we first came in, it was like the people that was already there
training us, showing us different things, and we ltad ma.n11a/s tliat we ltad to look at 011rselves to
really learn ourselves." (Thompson Dep. at 9). Mr. Thompson did receive training on the TMS
computer system when it was implemented, but only "about an hour." (Thompson Dep. at 13 ).
Furthermore, while Mr. Thompson did state that the entire DOC staff would receive annual
training on "harassment" and safety", this training did not relate to the records office. (Thompson
Dep. at 12-13).

       Similarly, Jeanette Myrick, stated that the only training the staff in the Records Office
received relating to their job responsibilities (e.g. sentence computation) was provided when the


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staff member was first hired. (Myrick Dep. 32). The programs administrator, stated that her staff
received an annual training on "key control, first aid, different divisions of what goes on in HR,
human resource office ... respect at the workplace. GBLT, or GLBT ... It's gays, lesbians, that
training." (Myrick Dep. 30).

        Legal Instrument Examiner Brown testified she had not received training in over two
years. (Brown Dep. 9). Most importantly, the personnel file for Jack Jones, the individual
responsible for processing Mr. Smith's release orders on March 18, 2014, indicates that Mr.
Jones received no training from DOC.

         The D.C. Jail is required to train its employees to properly process release orders received
from the D.C. Superior Court. Prior to the overdetention of Mr. Smith, DOC had actual notice
that staff errors had resulted in a overdetentions of inmate according to its Overdetention Report.
Nevertheless, DOC has failed to adequately train its employees in the Records Office, and this
failure, resulted in the overdetention of Mr. Smith.

      Thus, DOC's failure to adequately train its staff members resulted in the overdetention of
Mr. Smith.

IV.    The D.C. Department of Corrections Has Failed to Adequately Supervise its
       Employees to Process Prisoner Releases

        Given the danger that innocent men and women can be held as prisoners if court ordered
releases are not properly processed, it is necessary for a jail, such as D.C. Jail, to adequately
supervise its Legal Instrument Examiners who are responsible for processing release orders.

        For example, The BOP has very structured controls in place to ensure late releases do not
occur. The BOP conducts on a continual basis scheduled, informal but well-documented, internal
(intra-facility) audits known as Operational Reviews throughout the year. This is done in
addition to Program Reviews which, are essentially a week-long formal audits conducted by the
Central Office in the BOP. Program Reviews include a Reviewer in Charge, and usually include
4-8 additional team members that are comprised of technical subject-matter experts from Central
Office, and select staff from other BOP correctional facilities who possess unique subject matter
expertise, and have demonstrated a high degree of technical competence in terms of the
discipline to be reviewed. This oversight and supervision system implemented by BOP helps
ensure that inmates are neither released early and/or late.
        In contrast, DOC does not have monitoring controls in place to supervise its employees.
DOC stated that it has implemented a TMS system to ensure employee accountability. (Myrick
Dep. II at 26). This system is only used, however, to measure employee productivity~ not to
supervise the quality of the work or identify staff errors. (Myrick Dep. II at 26-27). This is
especially notable because the system does not indicate the individual who placed the March 18,
2014 release order for case 2012 CMD 7806 in Mr. Smith's institutional file, but failed to
process it.




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        Similarly, DOC has a policy that each document placed in an institutional must be
initialed by the individual who processed the docwnent and timestamped when it was received
by DOC. (Jones Dep. 37-39, 46-47). Although rudimentary, this system is designed for
employee accountability if an error were to occur in processing a release. DOC failed, however"
to supervise its Legal Instrument Examiners to ensure that this practice was actually followed.
For example, Jack Jones processed one release order, as indicated by his initials on the
documents, but failed to time stamp the document as required. (Jones Dep. 53-54). The March
18, 2014 release order contained in Mr. Smith's file in connection with case 2012 CMD 7086 is
neither initialed or timestamped. (GSmith DC 00052). The failure by DOC to supervise
employee compliance with the initiaVtimestamp system, has resulted in a lack of oversight in
processing release orders and has contributed to the overdetention problem at the D.C. Jail.

       Moreover, the supervisor for the Records Office at DOC, has acknowledged her lack of
oversight and supervision of her staff. In connection with Gregory Smith's overdetention, Ms.
Myrick testified that she performed no investigation into Gregory Smith's overdetention, and did
not question any of her employees regarding Mr. Smith's overdetention (Myrick Dep. 70-71).

       Accordingly, DOC's practice of failure to adequately supervise its employees, and to
hold those employees whose errors result in overdetentions accountable, caused Mr. Smith's
overdetention.

CONCLUSION

       Based upon the evidence reviewed to date, it is my opinion that the policies and practices
of DOC caused Mr. Smith's overdetention. In addition, is further my opinion that DOC's failure
to adequately train and supervise its employees in the DOC Records Office caused Mr. Smith's
overdetention. My opinions detailed in this report are to a professional degree of certainty.
Should additional information become available, a supplemental report may be made.

                                             Sin~erely,   L:J
                                             C~-·
                                             Cameron   Lind~




                                               -R-
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                                   EXHIBIT A
                              DOCUMENTS REVIEWED

1. Deposition Transcript of Jeanette Myrick (Volume I)
2. Deposition Transcript of Jeanette Myrick (Volume II)
3. Deposition Transcript of Jack Jones
4. Deposition Transcript of Robilyn Brown
5. Deposition Transcript of Fred Thompson
6. Deposition Transcript of Svetlana Polonchuk
7. Deposition Transcript of David Neumann (US Marshal ls Service)
8. Deposition Transcript of Plaintiff Gregory Smith
9. DOC Program Statement-Admission, Transfers, and Releases
10. DOC Program Statement - Inmate Gratuity Release
11. DOC Program Statement - Custody Classification System
12. Gregory Smith Institutional File
13. DOC Chain of Command
14. DOC Organizational Chart
15. My Justis Printouts
16. Amended Complaint
17. Overdetention Reports
18. DOC Paperflow Report
19. CourtView Printouts
20. Barnes v. District of Columbia, 924 F. Supp. 2d 74, 77 (D.D.C. 2013)
21. Barnes v. District of Columbia, 793 F. Supp. 2d 260, 265 (D.D.C. 2011)
22. Bynum v. District of Columbia, 412 F. Supp. 2d 73 (D.D.C. 2006)
23. Jack Jones Personnel File
24. D.C. Interrogatory Responses
25. Press Release on Inmate Processing Center
26. Release Orders
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                                          EXHIBITB
                                        LIST OF CASES

Case                                                      Type of Testimony
Forshey v. Huntingdon County, et. al, No. 13-CV-          Deposition
00285; United States District Court, Middle District of
Pennsylvania
White v. Pallito (Vermont DOC Commissioner},              Deposition
anticipation of liti~ation
Morga/ v. Jacobs, et al.; No. CV-12-280-TUC-CKJ,          Deposition
United States District Court, District of Arizona
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                                 EXHIBIT C
                                    CV




 
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                                Cameron K. Lindsay
                                108 Eagle Glen Drive
                              East Fallowfield, PA 19320
                                  Cell: 267-252-4965
                               clindsay50@yahoo.com



EDUCATION:
Master's of Science Degree in Safety
West Virginia University, Morgantown, WV

Master's of Arts Degree in Counseling and Guidance
West Virginia University, Morgantown, WV

Bachelor's of Science Degree in Criminal Justice
Fairmont State College, now known as Fairmont State University; Fairmont, WV

EMPLOYMENT:
Expert Witness in Prison/Jail Litigation
Self-Employed
August 2014--Present

Warden, Delaware County Prison (2000 beds; 575 staff)
Community Education Centers, Inc.
500 Cheyney Road, Thornton, PennsyI vania 193 73
September 2012-August 2014

Warden, Moshannon Valley Correctional Center (1500 beds; 275 staff)
The GEO Group, Inc.
555 Cornell Drive, Philipsburg, Pennsylvania 16866
October 2009 - August 2012

United States Department of Justice
Federal Bureau of Prisons 1989-2009
Warden, Metropolitan Detention Center, Brooklyn, New York (3000 beds; 550 staff)
Warden, United States Penitentiary, Canaan, Pennsylvania (1600 beds; 350 staff)
Warden, Federal Correctional Institution, Lompoc, California (1800 beds; 275 staff)
Deputy Regional Director, Northeast Regional Office; Philadelphia, Pennsylvania
Associate Warden, United States Penitentiary, Lewisburg, Pennsylvania
Associate Warden, Federal Correctional Institution, Lompoc, California
Warden's Executive Assistant, Federal Correctional Institution, McKean, Pennsylvania
Unit Manager, Federal Correctional Institution, McKean, Pennsylvania
Management Analyst, Federal Correctional Institution, McKean, Pennsylvania
Case Manager, Federal Correctional Institution, McKean, Pennsylvania
Safety Specialist Intern, Federal Correctional Institution, Morgantown, West Virginia
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Employment Prior to 1989:
Tenure-track Instructor of Criminal Justice; Fairmont State College, Fairmont, WV
Therapist; The Manchin Clinic, Farmington, West Virginia (part-time)
Police Officer; Morgantown Police Department, Morgantown, West Virginia
(patrol, traffic and detective divisions)
Police Officer; Star City Police Department, Star City, West Virginia
Radio-Operator; West Virginia State Police, Morgantown, West Virginia

Part-Time Teaching Positions from 1988 - 2011:
The Pennsylvania State University, State College, PA
West Virginia University, Morgantown, West Virginia
University of Pittsburgh, Bradford, Pennsylvania
Jamestown Community College, Olean, New York
Chapman University, Vandenberg Air Force Base, Lompoc, California

PROFESSIONAL ACCOMPLISHMENTS:
United States Government Top-Secret Security Clearance (2003-2009)

Trained and certified as a Hostage Negotiator by the FBI

Member of the United States Government Senior Executive Service (SES) 2005-2009

Graduate of the Federal Law Enforcement Training Center, Glynco, Georgia (voted class
speaker by fell ow graduates)

Graduate of the Aspen Institute's Justice in Society Program, Aspen, Colorado

Guest lecturer at John Jay School of Criminal Justice, New York, New York

Nominee for Fairmont State College's 1987 Boram Award (most outstanding lecturer)

Past president ofWVU's Chapter of American Society of Safety Engineers

Graduate of the 13-week residential West Virginia State Police Basic Police Academy

Recipient of Special Recognition Award by the United States Department of Justice's
Federal Bureau of Prisons for a life-saving act

Recipient of multiple United States Department of Justice Special Act and Sustained
Superior Performance Awards

Recipient of Meritorious Service award from Fraternal Order of Police.
